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 1   RENE L. VALLADARES
     Federal Public Defender
 2   Nevada State Bar No. 11479
     KEISHA K. MATTHEWS
 3   Assistant Federal Public Defender
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 4   Las Vegas, Nevada 89101
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 5   (702) 388-6261/Fax
     Keisha_Matthews@fd.org
 6
 7   Attorney for Eric Ramirez

 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                           Case No. 2:23-cr-00151-APG-NJK
11                  Plaintiff,                           STIPULATION TO CONTINUE
12                                                       SENTENCING HEARING
            v.
                                                         (First Request)
13   ERIC RAMIREZ,
14                  Defendant.
15
16          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
17   United States Attorney, and Robert Knief, Assistant United States Attorney, counsel for the
18   United States of America, and Rene L. Valladares, Federal Public Defender, and
19   Keisha K. Matthews, Assistant Federal Public Defender, counsel for Eric Ramirez, that the
20   Sentencing Hearing currently scheduled on June 26, 2024, at 10:00 a.m., be vacated and
21   continued to a date and time convenient to the Court, but no earlier than ninety (90) days.
22          The Stipulation is entered into for the following reasons:
23          1.      Counsel for the defendant needs additional time to gather mitigation information
24   for Mr. Ramirez, which is relevant to the sentencing disposition of this case.
25          2.      The defendant is incarcerated and does not object to the continuance.
26          3.      The parties agree to the continuance.
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 1          4.      The parties request that the deadlines for informal objections to the PSR and the
 2   submission of the Final PSR be extended in accordance with the new sentencing date.
 3          This is the first stipulation to continue filed herein.
 4          DATED this 30th day of May 2024.
 5    RENE L. VALLADARES                                JASON M. FRIERSON
      Federal Public Defender                           United States Attorney
 6
 7       /s/ Keisha K. Matthews                            /s/ Robert Knief
      By_____________________________                   By_____________________________
 8
      KEISHA K. MATTHEWS                                ROBERT KNIEF
 9    Assistant Federal Public Defender                 Assistant United States Attorney

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 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:23-cr-00151-APG-NJK
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     ERIC RAMIREZ,
 7
                    Defendant.
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10          Based on the stipulation and good cause appearing:
11   IT IS ORDERED that the sentencing hearing currently scheduled for Wednesday, June
12   26, 2024, at 10:00 a.m., be vacated and continued to September 19, 2024 at the hour of 9:30
13   a.m. in Courtroom 6C.
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            DATED this 31st day of May 2024.
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16
                                                  UNITED STATES DISTRICT JUDGE
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